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                      IN THE UNITED STATES DISTRlCT COURT
                      FOR THE NORTHERN DISTRJCT OF TEXAS
                              FORT WORTH DIVISION


UNITED STATES OF AMERICA

v.                                                     Case No.

ASHLEIGH L YN ALLEN                       (01)                L'
JEFFREY BLAKE ELLIS                                      NORTHERN DISTRICT OF TLX,r\S
a/kla "Jealous"                           (02)                          r~n
                                                                   FnJL,L.· ..


                                                              ~MAY ,-8 201£ I
NIKIE NICOLE FRYE                         (03)
MICHAEL SEAN GOSS
a/kla "Killer"                            (04)
TIMOTHY ERJC NIMERFROH
                                                           CUoRK, U.S. DISTRICT COUKf
a/kla "Kaos"                              (05)
                                                            By - - - c : - - - - - -
SARAH SUEANNE RAGSDALE                    (06)                       Dcputy
                                                                        --'-------'
JERJ ANN WEILER                           (07)
LONNIE LEE ROTENBERRY                     (08)
a/kla "Throwed Off'
                                                    4·· 16CR 121 l
                                     INFORMATION


The United States Attorney Charges:

                                        Count One

          Conspiracy to Possess with Intent to Distribute a Controlled Substance
                             (Violation of21 U.S.C. § 846)

        Beginning in or before January 2014, and continuing until in or around January

2015, and beyond, in the Fort Worth Division ofthe Northern District ofTexas, and

elsewhere, defendant Timothy Eric Nimerfroh, also known as Kaos, along with others

known and unknown, including the individuals identified as defendants in Count Two but



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not named as defendants in this Count, did knowingly and intentionally combine,

conspire, confederate, and agree to engage in conduct in violation of 21 U.S.C §§

841(a)(l) and (b)(1)(B), namely to possess with intent to distribute 50 grams or more of a

mixture and substance containing a detectable amount of methamphetamine, a Schedule

II controlled substance.

       In violation of21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(l) and (b)(1)(B)).




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                                        Count Two

           Conspiracy to Possess with Intent to Distribute a Controlled Substance
                              (Violation of21 U.S.C. § 846)

        Beginning in or before January 2015, and continuing until in or around April

2016, in the Fort Worth Division of the Northern District of Texas, and elsewhere,

defendants Ashleigh Lyn Allen, Jeffrey Blake Ellis, also known as Jealous, Nikie

Nicole Frye, Michael Sean Goss, also known as Killer, Sarah Sueanne Ragsdale,

Lonnie Lee Rotenberry, also known as Throwed Off, and Jeri Ann Weiler, along with

others known and unknown, including the individuals identified as defendants in Count

One but not named as defendants in this Count, did knowingly and intentionally combine,

conspire, confederate, and agree to engage in conduct in violation of21 U.S.C §§

841(a)(l) and (b)(l)(C), namely to possess with intent to distribute a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance.

        In violation of21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(l) and (b)(l)(C)).


                                          JOHN R. PARKER
                                          UN   D TATESATTORNEY



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